                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA


UNITED STATES OF AMERICA                       ) Case No. 1:17-cr-117-3
                                               )
v.                                             ) District Judge Curtis L. Collier
                                               )
ALAN L. BROWN                                  ) Magistrate Judge Christopher H. Steger


                                          ORDER

       United States Magistrate Judge Christopher H. Steger filed a report and recommendation

(Doc. 51) recommending that the Court: (1) grant Defendant’s motion to withdraw his not-guilty

plea to Count One of the ten-count Indictment; (2) accept Defendant’s guilty plea to Count One

of the ten-count Indictment; (3) adjudicate Defendant guilty of conspiracy to distribute 100

grams or more of a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance, in violation of Title 21 United States Code Sections 841(a)(1),

841(b)(1)(B), and 846; and (4) order that Defendant remain in custody until further order of this

Court or sentencing in this matter. Neither party filed a timely objection to the report and

recommendation. After reviewing the record, the Court agrees with Magistrate Judge Steger’s

report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

judge’s report and recommendation (Doc. 51) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

as follows:

       1. Defendant’s motion to withdraw his not-guilty plea as to Count One of the ten-count

              Indictment is GRANTED;

       2. Defendant’s plea of guilty to Count One of the ten-count Indictment is ACCEPTED;




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      3. Defendant is hereby ADJUDGED guilty of guilty of conspiracy to distribute 100

         grams or more of a mixture and substance containing a detectable amount of heroin, a

         Schedule I controlled substance, in violation of Title 21 United States Code Sections

         841(a)(1), 841(b)(1)(B), and 846;

      4. A decision on whether to accept the plea agreement is DEFERRED until sentencing;

         and

      5. Defendant SHALL REMAIN in custody until further order of this Court or

         sentencing in this matter, which is scheduled to take place on March 7, 2018, at 2:00

         p.m. before the undersigned.


      SO ORDERED.

      ENTER:


                                                 /s/
                                                 CURTIS L. COLLIER
                                                 UNITED STATES DISTRICT JUDGE




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